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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                             Case No. 1:19- cr-00292-BLW

        Plaintiff,                           MEMORANDUM DECISION
                                             AND ORDER
         v.

 SCOTT ALEXANDER LANEY,

        Defendant.



                                INTRODUCTION

      Before the Court are Scott Laney’s motions for a new trial. Dkt. 87, 101.

Laney argues a new trial is warranted because the jury trial waiver was

insufficient, the Court erred in refusing to admit defense exhibits 2014 and 2015,

and there was insufficient evidence to find Laney guilty of aggravated identity

theft. The Government opposes the motions. Dkt. 107. For the reasons that follow

the Court will deny the motions.




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                                 BACKGROUND

      A.     Jury Trial Waiver
      On September 10, 2019, the Grand Jury indicted Laney on 8 counts of health

care fraud and 8 counts of aggravated identity theft. Dkt. 1. The indictment alleged

that Laney used two nurse practitioners’ names and National Provider

Identification (NPI) numbers, without their permission, to cause bills for fraudulent

urine drug tests to be submitted to Medicare and Medicaid between April and

October 2015. The Indictment further alleged that Laney received commission

payments as a result of his scheme.

      On January 24, 2020, Laney submitted a written waiver of jury trial pursuant

to Federal Rule of Criminal Procedure 23. Dkt. 35. The waiver, signed by Laney,

his counsel, and the Government, states:

      I, Scott Laney, acknowledge that I was fully informed of my right to
      trial by jury in this cause. I hereby waive that right, request the court
      to try all issues of fact and law without a jury.
Id.

      On January 27, 2020, the Government filed a motion to correct the

indictment to remove “Joseph” from Laney’s name in the forfeiture allegation, and

correct the dates in count two and ten from June 15, 2015 to June 5, 2015. Dkt. 36.

Laney did not oppose the motion and the Court granted the motion. Dkt. 38.

      On June 10, 2020, the Government filed a superseding indictment. Dkt. 47.



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The superseding indictment added an allegation that Laney facilitated the

submission of fraudulent charges to Medicare through Pinnacle Laboratory

Services using a nurse practitioner’s name and NPI without her permission. Id.

And, that Laney made payments to a coconspirator. The Superseding indictment

added one count of healthcare fraud and one count of aggravated identity theft. Id.

      At both his initial appearance on the first indictment and arraignment on the

superseding indictment the magistrate judge advised Laney of his rights.

      [THE COURT:]       So at this time, Mr. Laney, I want to provide you
                         information regarding your rights and, most
                         specifically, your rights in connection with trial.
                         You have the right to a trial by jury. You are
                         presumed innocent of the charges against you and
                         the burden of proof is on the Government to prove
                         your guilt by competent evidence and beyond a
                         reasonable doubt.

                         …

                         At the time of trial, you can testify but you also
                         have the right to choose not to testify and if you
                         choose to not testify, the jury will be instructed
                         that they must not infer guilt from the fact that you
                         do not testify. And that’s because you have the
                         absolute right to choose not to be a witness against
                         yourself and you also have the right to remain
                         silent. Do you understand, Mr. Laney, that you
                         have these rights?

      LANEY:             Yes, Your Honor, I do.
      THE COURT:         And do you understand these rights?




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      LANEY:              Yes, I do.

Transcript, Dkt. 93 at 2; see also Dkt. 92 at 2.
      Laney’s primary attorney, Dennis Charney, who lives in Wyoming, was not

present at his initial appearance or arraignment on the superseding indictment.

Instead, Randall Barnum covered these hearings for Mr. Charney. See Dkt. 93.

      At a pretrial conference on September 11, 2020, the Court confirmed with

defense counsel that Laney would proceed via bench trial. Dkt. 59, 65. Laney’s

pre-trial brief again confirmed that Laney had waived his right to a jury trial. Dkt.

60.

      At the start of trial, the Government requested that the Court inquire with

Laney if he agreed to proceed via bench trial, instead of trial by jury. Dkt. 94 at 15.

The Court engaged in the following colloquy with Laney.

      THE COURT:          Mr. Laney, you understand, do you not, that you
                          absolutely have the right -- constitutional right to a
                          trial by jury in this case? The jury would be
                          composed of 12 individuals. We would probably
                          have alternates, but only 12 jurors would actually
                          deliberate to the verdict. You would have the right
                          to participate in selecting the jury, to review their
                          background, to exercise challenges for cause if you
                          felt or your attorney felt that there was some
                          conflict of interest. You also would have the right
                          to exercise what’s called peremptory challenges. In
                          fact, you’d have 10 peremptory challenges to the
                          panel. The jury would be instructed that they are to
                          be judges of the fact in the same way that I am the



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                          judge of the law.

                          But by agreeing to waive or requesting that the
                          jury not be involved in the case, you are, in
                          essence, turning that all over to me and waiving
                          your constitutional right to trial by a jury of your
                          peers. Do you understand that?

      LANEY:              Yes, I do.
      THE COURT:          Okay. And after consultation with counsel, that’s
                          your decision; correct?

      LANEY:              Yes, it is.

Dkt. 94 at 15-16.

      In an affidavit filed in support of his motion, Laney states that Charney

advised him to waive the jury trial, because Charney believed it would be in

Laney’s best interests. Dkt. 88. Laney states that he did not press Charney on the

potential disadvantages of waiving the jury trial; that Charney did not discuss the

benefits and burdens of a jury trial with him; that Charney did not explain that the

Jury’s verdict had to be unanimous; and, that Charney did not advise him that he

could withdraw the jury waiver after the Superseding Indictment was filed. Id.

Laney further states that he would not have waived the jury had he known that a

single juror could prevent him from being convicted. Id.

      Charney filed a declaration supporting Laney’s statements, and adding that

he explained the basic difference between a bench trial and jury trial to Laney. Dkt.




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89. Charney states that he believed the magistrate judge would have more fully

explained the right to a jury trial at Laney’s initial appearance or arraignment.

       B.       Defense Exhibits 2014 and 2015
       Prior to trial the Government filed a motion in limine seeking to limit

evidence and argument regarding Millennium Health’s settlement and corporate

integrity agreements. Dkt. 54. The Court denied the motion, finding that evidence

related to Millennium’s business practices leading to the settlement agreements

and corporate integrity agreements may be relevant to whether Laney knowingly

and willfully executed a plan to defraud a health care benefit plan and his intent to

defraud. Dkt. 73. In its order the Court stated that it would “allow Laney to present

limited evidence related to Millennium’s business practices leading to the

settlement agreements and corporate integrity agreements related to urine drug

tests.” The Court indicated it would “also allow limited evidence of these

agreements, subject to the Government’s objection of relevance” but would not

allow Laney to relitigate Millennium’s conduct. Id.

       On the second day of trial, during cross examination of Kristen Baker,

defense counsel offered defense exhibits 2014 and 2015, and 2017, for admission.1



       1
         Exhibit 2017 was a Millennium Health Playbook, which was eventually admitted. Dkt.
95 at 304.



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Dkt. 95 at 163. Exhibit 2014 was a complaint filed by the United States against

Millennium Health for healthcare fraud and Exhibit 2015 was the corporate

integrity agreement Millennium entered into with the United States to settle the

lawsuit. When Defense Counsel offered the exhibits the Court engaged in an

extensive discussion with counsel for both parties regarding the relevance of the

exhibits. Id. at 286-92. The Court then reserved ruling on the exhibits telling

Defense Counsel that he would need to demonstrate relevance before they would

be admitted. Id. at 291-92.

      Mr. Charney discussed the Corporate Integrity Agreement (Exhibit 2015)

with Ms. Baker but never offered it, or Exhibit 2014, for admission. That evening

Charney filed a renewal of request to admit Exhibits 2014 and 2015 into evidence.

Dkt. 81. On the morning of the third day of trial, the Court clarified that it had not

refused to admit the exhibits, but instead had reserved ruling on the exhibits

pending a showing of relevance. Dkt. 96 at 364-65. Defense Counsel did not seek

to admit exhibits 2014 or 2015 during the rest of trial.

      C.     Evidence of Aggravated Identity Theft

      Laney was charged with nine counts of aggravated identity theft. Dkt. 47 at

7-8. The Government alleged that Laney “knowingly cause[d] others to transfer,

possess, or use, without lawful authority, a means of identification of another




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person.” Id. at 7. Counts 10-15 of the Superseding Indictment charged that Laney

used Alisha Phillips’ name and NPI number to cause urine tests to be submitted

from K&K Treatment to Millennium Health. Counts 16 and 17 charged that Laney

used Brenda Hoyt’s name and NPI number to cause urine tests to be submitted

from Dishion Enterprises to Millennium Health. Count 18 charged that Laney used

Alisha Phillips’ name and NPI number to cause urine tests to be submitted from

K&K Treatment to Pinnacle Laboratories.

      At trial the Government argued that Laney had used Ms. Phillips’ and Ms.

Hoyt’s names and NPI numbers on various Millennium Health and Pinnacle

Laboratory forms without their authorization or consent. The testimony at trial

showed that Millennium and Pinnacle billed Medicare or Medicaid for the urine

drug tests it performed for K&K Treatment and Dishion Enterprises.

      At trial, the Government introduced copies of new client registration forms,

Non-POC custom profile forms, and oral fluid custom profile forms – forms used

by Millennium to register new customers. The forms for K&K Treatment appear to

be signed by Alisha Phillips and contain her NPI number. Trial Exhibits 1001,

1003, 1004. The forms for Dishion Enterprises appear to be signed by Brenda Hoyt

and contain her NPI number. Trial Exhibits 1028, 1084, 1085. The New Account

Form used to sign up K&K Treatment with Pinnacle contains Alisha Phillips name




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and NPI number but is not signed by her. Trial Exhibit 1010.

      At trial Phillips testified that she had never met Kim Rostad, owner of K&K

Treatment, nor had she ever given her authorization to use her name and NPI in

relation to K&K Treatment. Dkt. 94 at 84. She testified that Laney had access to

her signature, and had had her sign blank forms, but eventually she became

suspicious of the requests.

      Elissa Massoth, an attorney for one of the probationers providing urine

samples at K&K Treatment, contacted Phillips after her client returned what was

essentially a false positive test. Massoth reported that Phillips was confused and

upset upon finding out that her name and NPI number had been used in association

with K&K Treatment. Phillips testified that, after she was contacted by Massoth,

she contacted Kim Rostad, the police, the Medicare fraud hotline, and the local

courthouse. Massoth also testified that Laney had met with her after the false

positive and told Massoth that Phillips had forgot that she agreed to be a medical

provider. Dkt. 94 at 63-65.

      Kim Rostad testified that she did not know Phillips, and she was told

Phillips was the doctor who would look over forms and results. Dkt. 95 at 161.

Phillips testified that she never received any results from the urine drug tests. All

results were sent directly to K&K Treatment. Trial Exhibit 1001.




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      Brenda Hoyt testified that she had never agreed to be the medical provider

for Dishion Enterprises and, while her signature appeared on the forms, she did not

remember signing the forms. Dkt. 96 at 193-94. She testified that Laney had

discussed possible referrals, but never followed up with any. Dkt. 96 at 191. Hoyt

testified that she was not interested in drug testing, and had never heard of Dishion

Enterprises before she was contacted by Government investigator. Wade Dishion,

owner of Dishion Enterprises, testified that he did not know Brenda Hoyt outside

of seeing her name on the urine drug test forms. Dkt. 96 at 226. Hoyt testified that

her signatures on the Millennium forms could be hers, but she didn’t sign them.

      None of the handwriting on the Millennium forms matched Phillips’ or

Hoyt’s handwriting except, possibly, their names and signatures.

                               LEGAL STANDARD

      Mr. Laney’s motion is brought under Federal Rule of Criminal Procedure

33. Rule 33 states that “the court may vacate any judgment and grant a new trial if

the interest of justice so requires.” The power to grant a motion for a new trial “is

much broader than its power to grant a motion for judgment of acquittal.” U.S. v.

Alston, 974 F.2d 1206, 1211 (9th Cir.1992). “If the court concludes that … a

serious miscarriage of justice may have occurred, it may set aside the verdict, grant

a new trial, and submit the issues for determination by another jury.” Id. at 1211.




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                                      ANALYSIS

        A.    Jury Trial Waiver
        Laney filed a written waiver of jury trial pursuant to Federal Rule of

Criminal Procedure 23(a). The waiver stated:

        I, Scott Laney, acknowledge that I was fully informed of my right to
        trial by jury in this cause. I hereby waive that right, request the court
        to try all issues of fact and law without a jury.

Dkt. 35. At the beginning of trial, the Court advised Laney of his right to a jury

trial and inquired whether he desired to waive that right. He responded that he did.

        Laney now argues that his waiver was invalid because he was never advised

that a jury is made of members of the community and that the jury must return a

unanimous verdict. Laney states that he would not have waived his right to a jury

trial if he knew that a single juror could prevent him from being convicted. Dkt. 88

at 2.

        A criminal defendant has the right to a jury trial under the Sixth

Amendment. The defendant may waive this right. “To be valid, a defendant's

waiver of the Sixth Amendment right to a jury trial must be voluntary, knowing,

and intelligent.” United States v. Laney, 881 F.3d 1100, 1106 (9th Cir. 2018)

(citing United States v. Christensen, 18 F.3d 822, 824 (9th Cir. 1994)). Federal

Rule of Criminal Procedure 23(a) provides that “the trial must be by jury unless:

(1) the defendant waives a jury trial in writing; (2) the government consents; and


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(3) the court approves.” “In most cases, adherence to the dictates of [Rule] 23(a)

creates the presumption that the waiver was voluntary, knowing, and intelligent.”

Laney, 881 F.3d at 1106 (quoting United States v. Bishop, 291 F.3d 1100, 1113

(9th Cir. 2002)).

      The Ninth Circuit strongly encourages, but does not require, district courts to

conduct a colloquy with the defendant before accepting the jury trial waiver.

Bishop, 291 F.3d at 1113. To determine whether the jury trial waiver is voluntary,

knowing, and intelligent the district court should inform the defendant that “(1)

twelve members of the community compose a jury, (2) the defendant may take part

in jury selection, (3) a jury verdict must be unanimous, and (4) the court alone

decides guilt or innocence if the defendant waives a jury trial.” United States v.

Duarte-Higareda, 113 F.3d 1000, 1002 (9th Cir. 1997) (citing United States v.

Cochran, 770 F.2d 850, 851 (9th Cir.1985)). “However, the sufficiency of the

colloquy is highly dependent on the education and legal sophistication of the

defendant, and shorter colloquies can be sufficient to ascertain whether the waiver

is knowing and voluntary.” United States v. Tamman, 782 F.3d 543, 552 (9th Cir.

2015).

      It is true that Laney filed his written waiver prior to the indictment being

amended or the filing of the superseding indictment. However, the filing of the




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superseding indictment did not invalidate Laney’s waiver. The amendments to the

original indictment were clerical in nature – correcting a date and Defendant’s

name – neither of which call into question the sufficiency of the waiver. The

superseding indictment added one count of healthcare fraud and one count of

aggravated identity theft. These changes may have marginally affected the

penalties Laney was facing, but did not otherwise significantly impact the

Government’s case at trial. There is nothing in either of these events that call into

question whether Laney’s waiver was knowing, voluntary, and intelligent.

      Prior to commencing trial, the Government asked that the Court advise

Laney of his right to a jury trial. The Court engaged in a colloquy with Laney

concerning his waiver of the right to a jury trial. The Court advised Laney that he

had an “absolute right” to a trial by jury. That the jury would be composed of 12

individuals and that Laney would be able to review their background and exercise

challenges for cause if he felt there was some conflict of interest. That he would

have peremptory challenges. And, that by agreeing to waive the jury, he was

turning the decision over to the Judge and “waiving [his] constitutional right to

trial by a jury of your peers.”

      It is true that the Court did not specifically advise Laney that the jury’s

verdict must be unanimous. However, that shortcoming in the colloquy was offset




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by Laney’s written waiver which assured the Court that he had been “fully

informed” by his attorney of his right to a jury trial.

      Following the advisement, Laney confirmed that he understood his right to a

jury trial and wished to waive it. Dkt. 94 at 16. What is not reflected in the

transcript is that throughout the exchange Laney was calm and appeared confident

in his decision. His mental or emotional state did not call into question the validity

of the waiver. See United States v. Christensen, 18 F.3d 822, 826 (9th Cir. 1994).

      Laney is educated, articulate, and was clearly involved in the preparation of

his own defense. He was advised by competent counsel throughout the

proceedings. See Bishop, 291 F.3d at 1114. Laney’s post-trial, and post-conviction,

statements do not square with his statements and demeanor prior to trial, nor his

written waiver stating he had been fully advised of his right to a jury trial.

Considering the entire context of the situation the Court finds that Laney

knowingly, intelligently, and voluntarily, waived his right to a trial by jury.

      B.     Exhibits 2014 and 2015

      Laney argues the Court erred by sustaining the Government’s objections to

Exhibits 2014 and 2015. Laney offered the exhibits during cross examination of

Kristen Baker, and discussed Exhibit 2015 in some detail with her. The Court

reserved ruling on the exhibits pending a showing of relevance. Laney did not




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move to admit the exhibits during the remainder of trial. The Court did not sustain

the Government’s objection, nor refuse to admit the exhibits. Instead, Laney did

not seek to admit them after the Court reserved ruling. Even considering the

content of the exhibits, the Court finds that no serious miscarriage of justice

occurred warranting a new trial.

      C.     Evidence of Aggravated Identity Theft

      Laney argues the Court erred in finding him guilty of aggravated identity

theft. Essentially, Laney argues that if the Court found the forms were signed by

Phillips and Hoyt then it was required to acquit him on these charges. Otherwise,

Laney argues the Court had to speculate that Laney may have forged the forms.

      The elements of aggravated identity theft are:

      1. The defendant knowingly transferred, possessed, or used, without legal
         authority a means of identification of another person;

      2. The defendant knew that the means of identification belonged to a real
         person; and
      3. The defendant did so during and in relation to health care fraud.

Ninth Circuit Model Criminal Jury Instruction 8.83. See also U.S. v. Gargarian,

950 F.3d 596 (9th Cir. 2020).

      Hoyt and Phillips both testified that they never authorized the use of their

names or NPI numbers in association with Dishion Enterprises, or K&K

Treatment, respectively. While Hoyt and Phillips testified that the signatures on the



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documents could have been theirs, they did not recall signing the forms, and both

stated they would not have done so. Further, both testified that the NPI numbers on

the forms were not in their handwriting.

      The testimony of Brenda Hoyt, Alisha Phillips, Wade Dishion, and Kim

Rostad was consistent and believable. Hoyt testified that she did not know Dishion

prior to the investigation. Likewise, Dishion testified he did not know Hoyt, other

than seeing her name on the urine drug test forms. Phillips testified she did not

know Rostad. Rostad testified she did not know Phillips. Phillips also testified that

Laney asked her staff to have her sign blank forms, of which, she eventually grew

suspicious.

      Irrespective of whether Laney had Hoyt and Phillips sign blank forms or

forged their signatures, there was significant evidence to find that he used their

names and NPI numbers without authorization and legal authority.

      D.      Conclusion
      The Court finds that Laney knowingly, intelligently, and voluntarily waived

his right to a trial by jury. The Court further finds that there was no significant

miscarriage of justice related to the evidence at trial. Therefore, the Court will deny

Laney’s motion.




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                                 ORDER

     IT IS ORDERED that Defendant’s Motions for a New Trial (Dkt. 87, 101)

are DENIED.



                                        DATED: January 29, 2021


                                        _________________________
                                        B. Lynn Winmill
                                        U.S. District Court Judge




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